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                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                Plaintiff,
     vs.                                 Case No. 00-40104-01/02-RDR

WILLIAM LEONARD PICKARD
and CLYDE APPERSON,

                Defendants.


                                 O R D E R

     This   matter    is     presently   before    the    court    upon     the

government’s motion to extend deadline to respond to defendants’

Fed.R.Civ.P. 60(b) motions.       For various reasons, the government

seeks an additional two weeks or until December 8, 2010 in which to

file its responses.    The government notes that efforts to contact

defendants’ counsel about the proposed extension were unsuccessful.

     For the reasons stated, the court shall grant the government’s

motion. The court finds that this extension will not prejudice the

defendants. The court shall allow the government until December 8,

2010 to file its responses to defendants’ motions.

     IT IS THEREFORE ORDERED that the government’s motion to extend

deadline to respond to defendants’ motions (Doc. # 646) be hereby

granted. The government shall have until December 8, 2010 in which

to file its responses.

     IT IS SO ORDERED.
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Dated this 7th day of December, 2010 at Topeka, Kansas.


                             s/Richard D. Rogers
                             United States District Judge




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